                             IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

                          CIVIL MINUTES: FINAL PRETRIAL CONFERENCE

                           Date December 9, 2021 Time 1:34 P.M. To 2:07 P.M.

              Case No.3:19-CV-9, ANDREW JOSTEN LOVINGOOD vs. DERRICK GRAVES., ET AL
      ===========================================================================
                   The Honorable CLIFTON L. CORKER, U.S. District Judge, Presiding

Courtroom Deputy KIM OTTINGER                             Court Reporter SHANHAN MCCARTYR

         PARTIES
                                                                COUNSEL
ANDREW JOSTEN LOVINGOOD                                       TROY L. BOWLIN
 Plaintiffs

vs.

DERRICK GRAVES                                                SCOTT A. LANZON



BILL JOHNSON                                                  HILARY MAGACS
 Defendants


PROCEEDINGS:


Statements by the Court
Statements by Counsel for Plaintiff; Counsel for Defendants
Case is DISMISSED by the Court
Order to enter




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